Case 1:22-cv-00109-AJT-IDD     Document 14     Filed 10/03/22   Page 1 of 1 PageID# 53

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                                   October 3, 2022


    Clerk
    United States Court of Appeals for the Fourth
    Circuit
    1100 East Main Street
    Room 501
    Richmond, VA 23219


          Re: Dora L. Adkins
              v. Driftwood Special Servicing, LLC
              No. 21-8270
              (Your No. 22-1118)


    Dear Clerk:

          The Court today entered the following order in the above-entitled case:

           The motion of petitioner for leave to proceed in forma pauperis is
    denied, and the petition for a writ of certiorari is dismissed. See Rule 39.8.
    As the petitioner has repeatedly abused this Court's process, the Clerk is
    directed not to accept any further petitions in noncriminal matters from
    petitioner unless the docketing fee required by Rule 38(a) is paid and the
    petition is submitted in compliance with Rule 33.1. See Martin v. District of
    Columbia Court of Appeals, 506 U. S. 1 (1992) (per curiam).



                                           Sincerely,




                                           Scott S. Harris, Clerk
